Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 1 of 15 PageID #: 1676



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION


VIRGINIA INNOVATION SCIENCES, INC.,

                 Plaintiff,
                                           Civil Action No. 4:18-cv-00474-ALM
      v.
                                           JURY TRIAL DEMANDED
AMAZON.COM, INC.,

                 Defendant.


              OPPOSITION OF DEFENDANT AMAZON.COM, INC.
                  TO MOTION FOR PROTECTIVE ORDER
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 2 of 15 PageID #: 1677



                                                   TABLE OF CONTENTS

                                                                                                                                     Page

FACTUAL BACKGROUND ..........................................................................................................2

ARGUMENT ...................................................................................................................................3

           I.        VIS’S INFRINGEMENT CONTENTIONS CONTAIN NO CONFIDENTIAL
                     INFORMATION ......................................................................................................3

           II.       VIS WILL FACE NO COMPETITIVE HARM FROM THE DISCLOSURE
                     OF ITS INFRINGEMENT CONTENTIONS ..........................................................7

           III.      VIS’S IMPROPER DESIGNATION OF ITS INFRINGEMENT
                     CONTENTIONS UNFAIRLY PREJUDICES AMAZON ......................................8

CONCLUSION ..............................................................................................................................10

CERTIFICATE OF SERVICE ......................................................................................................12




                                                                     i
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 3 of 15 PageID #: 1678



                                             TABLE OF AUTHORITIES

CASES                                                                                                                        PAGE(S)

   Constellation, LLC v. Avis Budget Grp., Inc.,
      No. 5:07-CV-38, 2007 WL 7658921 (E.D. Tex. Oct. 30, 2007) ...........................4, 7, 9, 10

   Cypress Lake Software, Inc. v. ZTE (USA),
      No. 6:17-CV-00300-RWS, 2018 WL 4100766 (E.D. Tex. Apr. 24, 2018)...........4, 5, 9, 10

   ExitExchange Corp. v. Casale Media Inc.,
       No. 2:10-cv-297 (E.D. Tex. May 31, 2011), Dkt. 229-3 .....................................................6

   Fractus, SA. v. Samsung Elecs. Co.,
      No. 6:09-cv-203 (E.D. Tex. June 7, 2010), Dkt. 410.......................................................4, 5

   In re Violation of Rule 28(D),
       635 F.3d 1352 (Fed. Cir. 2011)............................................................................................3

   Net Navigation Sys., LLC v. Alcatel-Lucent USA Inc.,
      4:11-cv-663 (E.D. Tex. Sept. 19, 2012)...............................................................................4

   Tivo v. Verizon Commc’ns, Inc.,
      Civ. No. 2:09-CV-257 (E.D. Tex. Aug. 1, 2011), Dkt. 208 ................................................9

   Uniloc USA, Inc. v. Med. Info. Tech., Inc.,
      No. 16-CV-00463-RWS, 2017 WL 3836140 (E.D. Tex. Jan. 26, 2017).........................6, 9

   Zenith Labs., Inc. v. Bristol-Myers Squibb Co.,
      19 F. 3d. 1418 (Fed. Cir. 1994)............................................................................................9

OTHER AUTHORITIES

   Fed. R. Civ. P. 26(c)(1) ..............................................................................................................3




                                                                   ii
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 4 of 15 PageID #: 1679



       Plaintiff Virginia Innovation Sciences, Inc. (“VIS”)—a non-practicing entity—seeks to

keep its infringement contentions—which map claims of the patents it asserts in this case to pub-

licly available information about the accused products—confidential. VIS argues that its infringe-

ment contentions, prepared pursuant to the Local Rules of this district and signed by its lawyers,

constitute its confidential information because they reflect its “technical analysis” and, if revealed,

may cause competitive harm. But VIS served and filed infringement contentions without any

confidentiality designations in its prior cases, including in a case against Amazon involving the

same products accused in this case. And it has no competitors; indeed, it does not identify even a

single one. The “competitive harm” VIS describes in its motion is simply the consequence of

patent ownership, and is no different than what any patent plaintiff would face in any litigation.

       What VIS really argues is that any non-practicing entity, or any litigious entity for that

matter, should be able to keep its legal theories secret. This argument runs contrary to the crux of

this country’s legal system that provides public access to court proceedings. It is also contrary to

the foundation of the U.S. patent system: the public and its future innovators must understand the

scope of a patent to be able to ascertain what they can or cannot do without a threat of patent

infringement by the patentee.

       VIS’s designation of its legal theories as “Confidential” has already impacted Amazon’s

preparation of its defenses. VIS alleges that the other defendants it sued in this district infringe

based on their use of Amazon’s technology, but because of VIS’s improper designation Amazon

cannot review those allegations, compare them against the allegations VIS has made in this case,

or discuss them with the other defendants to prepare its defenses. Amazon is also unable to fully

develop its invalidity positions, which necessarily require an understanding of VIS’s contentions

about the scope of its claims and their relationship to the accused technology. These prejudices



                                                  1
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 5 of 15 PageID #: 1680



are enough to merit de-designation of the claim charts VIS has served in this case, which outline

legal theories based solely on publicly available information. VIS’s motion must be denied.

                                  FACTUAL BACKGROUND

       VIS is a non-practicing entity with just one employee. (Declaration of Ravi R. Ranganath

in Support of Opposition to Motion for Protective Order (“Ranganath Decl.”), Ex. 1 (“Wang Depo

Tr.”) at 8:9-22, 12:11-16, 32:20-34:18; see also Dkt. 24 at 4.) It does not make any products or

provide any services. (Wang Depo Tr. at 12:19-34:18.) Its sole business is patent assertion, and it

has only licensed its patents through litigation. (See id.)

       On July 5, 2018, VIS filed this lawsuit against Amazon, alleging infringement of four pa-

tents. It filed three other patent infringement cases 1 on the same day, alleging infringement of one

or more of the same four patents in each. VIS acknowledges that it does not practice any of the

asserted patents. (Ranganath Decl., Ex. 2 (“Plaintiffs’ [sic] Disclosures Pursuant to Local P.R. 3-

1 and 3-2”) at 6.)

       On February 7, 2019, VIS served preliminary infringement contentions in this case pursu-

ant to Patent Rule 3-1. In the accompanying cover pleading, VIS stated that the contentions were

“[b]ased on [VIS’s] current understanding of the claim language and publicly available infor-

mation regarding” the accused products and “[t]he claim charts are based on public information

[VIS] has uncovered.” (Id. at 4, 5.) The claim charts include two columns: one reciting the claim

language from the asserted patents and the other citing and reproducing excerpts and screenshots

from publicly available materials about the accused products. VIS designated these claim charts

as “Confidential” under the protective order in this case. (See Dkt. 10 at 7; see also Dkt. 54.) It



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     Innovation Scis., Inc. v. HTC Corp., 4:18-cv-00476-ALM (E.D. Tex.); Innovation Scis., Inc.
v. Resideo Techs., Inc., 4:18-cv-00475-ALM (E.D. Tex.); Innovation Scis., Inc. v. Vector Sec., Inc.,
4:18-cv-00477-ALM (E.D. Tex.).


                                                  2
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 6 of 15 PageID #: 1681



did the same with the infringement contentions it served in the other three cases; those contentions

are similarly based on publicly available information. (Ranganath Decl., Ex. 3.) VIS has refused

to allow the defendants in the four cases to share the claim charts from their respective cases.

       On March 8, 2019, VIS filed a motion to consolidate the four cases it filed in this district

for pre-trial purposes. (Dkt. 65.) In support of its request, VIS told the Court that the four cases

involve similar questions of fact because VIS accuses the same Amazon technology in each. (Dkt.

65 at 4-5.) Based on that representation, Amazon understands that VIS accuses Amazon’s tech-

nology in the infringement contentions in the other three cases. But because of VIS’s improper

designation of its infringement contentions across all the cases it filed in this district, Amazon has

not been able to review those allegations.

                                             ARGUMENT

I.     VIS’S INFRINGEMENT CONTENTIONS CONTAIN NO CONFIDENTIAL IN-
       FORMATION.

       “Rule 26(c)(1) does not furnish an absolute privilege against disclosure of material that a

party might wish to mark confidential.” In re Violation of Rule 28(D), 635 F.3d 1352, 1357 (Fed.

Cir. 2011) (citations omitted). VIS, as the designating party, bears “the burden of establishing that

[its infringement contentions] are entitled to confidential treatment.” (Dkt. 10 at 8.) See also In

re Violation of Rule 28(d), 635 F.3d at 1357 (“The party seeking protection bears the burden of

demonstrating that there is good cause for restricting the disclosure of the information at issue.”).

VIS has not met its burden. Nor can it. Its infringement contention charts merely compare claim

language, which is public information, with screenshots and information from public documents.

Indeed, as VIS admitted in its cover pleading, “[t]he claim charts are based on public information

[VIS] has uncovered” and they purportedly “demonstrate[] from publicly available information

how each claim element of the Asserted Claims is satisfied.” (Plaintiffs’ [sic] Disclosures Pursuant



                                                  3
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 7 of 15 PageID #: 1682



to Local P.R. 3-1 and 3-2 at 4, 6.) VIS’s infringement contentions, signed by its counsel, consist

of legal analysis of public documents. Courts in this district routinely reject attempts to designate

infringement contentions—like those served by VIS—as secret.

       In Net Navigation Systems, LLC v. Alcatel-Lucent USA Inc., this Court denied a motion to

designate infringement contentions as confidential because the “plaintiff’s infringement conten-

tions merely contain[ed] its lawyers’ legal analysis of public documents reflecting how it under-

stands the claim scope of the Patents-in-Suit.” Civ. No. 4:11-cv-663-RAS-ALM (E.D. Tex. Sept.

19, 2012), Dkt. 107 at 2. In Constellation, LLC v. Avis Budget Group, Inc., the plaintiff failed to

establish its infringement contentions were entitled to a confidential designation because they con-

tained only the plaintiff’s legal strategy that “is not inherently worthy of the ‘Confidential’ desig-

nation.” No. 5:07-CV-38, 2007 WL 7658921, at *2 (E.D. Tex. Oct. 30, 2007). Other courts in

this district have similarly rejected attempts to designate infringement contentions, based on pub-

licly available information, as confidential. See Cypress Lake Software, Inc. v. ZTE (USA), No.

6:17-CV-00300-RWS, 2018 WL 4100766, at *1, *3 (E.D. Tex. Apr. 24, 2018) (ordering plaintiff

to remove confidential designation of its infringement contentions where the claim charts con-

tained publicly available information); Fractus, SA. v. Samsung Elecs. Co., No. 6:09-cv-203 (E.D.

Tex. June 7, 2010), Dkt. 410 at 2 (“Plaintiff’s analysis of the accused products is merely a legal

infringement position and not confidential.”).

       Nothing in the default protective order currently governing this case justifies a different

outcome. 2 The protective order allows only “documents or information containing confidential

proprietary and business information and/or trade secrets” to be designated confidential. (Dkt. 10




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     The parties are currently negotiating a more fulsome protective order that will additionally
include provisions governing production of source code and export limitations.


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Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 8 of 15 PageID #: 1683



at 7 ¶ 1.) Claim charts—prepared pursuant to the Local Rules of the district for purposes of this

litigation—comparing public claim language to public information about the accused products

cannot meet this definition.

       None of VIS’s arguments changes this result either. VIS argues that its infringement con-

tentions are confidential because they reflect VIS’s “valuable technical analysis of Defendant’[s]

products.” (Mot. at 3.) But a comparison of one set of public information to another—prepared

for this litigation—no matter how “technical” it may be, does not justify keeping it secret. Indeed,

VIS’s argument would justify sealing any complaint that maps patent claims to publicly available

information about the accused products or all infringement contentions served by plaintiffs—a

nonsensical result. That is why, in Net Navigation, this Court rejected the plaintiff’s argument that

its infringement contentions merited confidential treatment because they contained “confidential

mental impressions, technical and strategic analysis.” Civ. No. 4:11-cv-663-RAS-ALM, Dkt. 107;

see also Cypress, 2018 WL 4100766, at *1, *3 (rejecting wholesale designation of entire claim

chart “over 200 pages” where the claim chart contained claim language and screenshots of the

accused products which was all “publicly available on-line”).

       VIS argues that its infringement contentions are confidential because they reflect VIS’s

“accumulation” of admittedly public information. (Mot. at 4.) This purported “accumulation” is

nothing more than VIS’s alleged infringement analysis. It is a legal position. That VIS’s conten-

tions are voluminous and may have been time consuming to prepare does not change their inher-

ently non-confidential character. Indeed, the Fractus court rejected a similar argument, holding

that the fact that the plaintiff invested effort and expense in analyzing the defendants’ products and

creating the contentions did not change the fact that the contentions were non-confidential. No.

6:09-cv-203, Dkt. 410 at 2. It held that this collection of public information regarding the accused




                                                  5
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 9 of 15 PageID #: 1684



products was “merely a legal infringement position” not entitled to confidential treatment. Id.

       Notably, VIS served, and even filed, without any confidentiality designations, infringement

contentions mapping a patent related to a patent it asserts in this case against the same product it

accuses in this case in its prior lawsuit against Amazon. Va. Innovation Scis., Inc. v. Amazon.com,

Inc., 1:16-CV-00861 (E.D. Va. May 26, 2017), Dkt. 110-2. It served infringement contentions

without a confidentiality designation in in its other lawsuits as well. See, e.g., Va. Innovation Scis.,

Inc. v. Samsung Elecs. Co., 2:12-cv-00548 (E.D. Va. Mar. 21, 2014), Dkts. 459-10, 459-11, 459-

12. This shows that VIS does not regard its infringement contentions as proprietary information

and uses that designation as pretext to impair Amazon’s preparation of its defense.

       Finally, VIS cites to a single case, ExitExchange Corp. v. Casale Media, Inc., as support

for its argument that its infringement contentions contain confidential information. But that case

does not help VIS either. First, “it is unclear whether the contentions in [that case] were limited

to publicly available information,” as they are here. Uniloc USA, Inc. v. Med. Info. Tech., Inc.,

No. 16-CV-00463-RWS, 2017 WL 3836140, at *2 (E.D. Tex. Jan. 26, 2017). Second, there is no

indication that the patentee in that case had treated its infringement contentions as non-confidential

in its prior lawsuits, as VIS has done. Third, while ExitExchange and Casale Media were compet-

itors, VIS and the defendants it sued are not. ExitExchange Corp. v. Casale Media Inc., No. 2:10-

cv-297 (E.D. Tex. May 31, 2011), Dkt. 229-3 ¶¶ 2-3. VIS is a non-practicing entity and its sole

business is to enforce patents. It fails to identify even a single competitor in its motion because it

has none. Indeed, VIS’s argument that it will face “harm” from the public disclosure of its in-

fringement contentions pushes the boundaries of zealous advocacy. 3



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     So does its list of unrelated instances in unrelated matters where defendants designated their
own information as confidential. The fact that Amazon and other defendants legitimately desig-
nated information as confidential in other cases has nothing to do with VIS’s improper designation


                                                   6
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 10 of 15 PageID #: 1685



II.    VIS WILL FACE NO COMPETITIVE HARM FROM THE DISCLOSURE OF
       ITS INFRINGEMENT CONTENTIONS.

       VIS argues it will suffer “competitive harm” if it de-designates its infringement conten-

tions. (Mot. at 5.) But, as of June 2017, VIS could not name a single product that it makes. (Wang

Depo Tr. at 12:19-32:19.) Nor could it name a single customer or identify a single license that was

not the result of litigation. (Id.) And that makes sense because VIS is a non-practicing entity with

just one employee, who is also its owner.

       VIS argues that the value of its patents may be diluted if it de-designates its infringement

contentions because other patent holders may assert patents against the same products VIS accused

in this case by using VIS’s infringement contentions as “a blue-print” to map their patents to the

products. (Mot. at 5.) This “blue-print” is set by the Court’s patent rules, which require claim

charts mapping claim elements to accused technology. There is nothing remarkable about VIS’s

infringement contentions; they map the claims of the asserted patents to publicly available docu-

ments about the accused technology. Nor is there anything unique about VIS that would make it

susceptible to competitive harm from the disclosure of its contentions. Indeed, the argument it

makes could apply to any patent plaintiff.

       VIS also argues that others may use its contentions to “design around” VIS’s patents if its

infringement contentions are de-designated. (Mot. at 5.) But the court in Constellation rejected

this very argument, finding that the infringement contentions “give insight into [the patentee’s]

perceived scope of patent ownership” and further the public’s interest because “the public can

better ascertain what [the patentee] believes is the scope of its patent, allowing the public to avoid

infringing activity and/or acquire a license.” Constellation, 2007 WL 7658921, at *3. Indeed, the

purpose of the patent system is to encourage new inventions: design arounds, i.e., new ways to do


of its legal analysis of public information.


                                                  7
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 11 of 15 PageID #: 1686



certain things, are innovations that the system encourages.

           Finally, VIS argues that others may file declaratory judgment actions and file administra-

tive IPR proceedings if it de-designates its infringement contentions. (Mot. at 5.) VIS is a serial

litigator and patent enforcer. It has employed the court system of this country on numerous occa-

sions over the years. 4 (Dkt. 9 at 2 n.2.) VIS cannot complain that others may use the same legal

system to defend against it and its claims. VIS’s improper attempt to designate its infringement

contentions and manufacture “competitive harm” conflict with the very purpose of our legal sys-

tem and our patent system. Indeed, every purported “harm” that VIS is claiming in its motion is

an expected and proper consequence of filing patent lawsuits.

III.       VIS’S IMPROPER DESIGNATION OF ITS INFRINGEMENT CONTENTIONS
           UNFAIRLY PREJUDICES AMAZON.

           In contrast to VIS’s lack of harm, VIS’s designation of its infringement contentions has

already impeded Amazon’s ability to prepare its defenses and will continue to do so for at least

two reasons.

           First, VIS accuses other defendants it sued in this district of infringing its patents because

they allegedly use Amazon’s technology. See, e.g., Complaint, Innovation Scis., Inc. v. HTC

Corp., 4:18-cv-00476-ALM (E.D. Tex. July 5, 2018), Dkt. 1 ¶ 47; Complaint, Innovation Scis.,

Inc. v. Resideo Techs., Inc., 4:18-cv-00475-ALM (E.D. Tex. July 5, 2018), Dkt. 1 ¶ 38; Complaint,



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      Sellerbid, Inc. v. Groupon, Inc. et al., 1:11-cv-00768-LMB-TRJ (E.D. Va.); Va. E-Commerce
Sols., LLC v. eBay, Inc. et. al., 1:10-cv-01229-LMB-IDD (E.D. Va.); Va. Innovation Scis., Inc. v.
Samsung Elecs. Co., Ltd. et al., 2:12-cv-00548-MSD-TEM (E.D. Va.); Va. Innovation Scis., Inc.
v. Samsung Elecs. Co., Ltd. et al., 2:13-cv-00332-MSD-TEM (E.D. Va.); Va. Innovation Scis., Inc.
v. Samsung Elecs. Am., Inc. et al., 2:14-cv-00217-MSD-LRL (E.D. Va.); Va. Innovation Scis., Inc.
v. HTC Corp. et al., 1:16-cv-01350-LO-IDD (E.D. Va.); Va. Innovation Scis., Inc. v. HTC Corp.
et al., 2:16-cv-00060-CMLRL (E.D. Va.); Va. Innovation Scis., Inc. v. LG Elecs., Inc. et al., 1:16-
cv-00128-LO-IDD (E.D. Va.); Va. Innovation Scis., Inc. v. Amazon.com, Inc., 1:16-cv-00861-LO-
MSN (E.D. Va.); Va. Innovation Scis., Inc. v. Amazon.com, Inc., 2:17-cv-00422-MSD-LRL (E.D.
Va.); and Va. Innovation Scis., Inc. v. HTC Corp. et al., 3:17-cv-00560-JAG (E.D. Va.).


                                                     8
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 12 of 15 PageID #: 1687



Innovation Scis., Inc. v. Vector Sec., Inc., 4:18-cv-00477-ALM (E.D. Tex. July 5, 2018), Dkt. 1

¶ 38. Indeed, VIS has already told the Court that its four cases must be consolidated because they

involve common questions of law and fact, because the accused HTC, Resideo, and Vector prod-

ucts purportedly use Amazon’s technology. (Dkt. 65 at 4-5.) Yet, because VIS designated its

infringement contentions—all based on publicly available information—as confidential in all four

of its cases and refused to allow defendants to exchange their respective contentions with each

other, Amazon does not know how VIS has mapped Amazon’s technology to the asserted patents

in the other cases. Courts in this district have noted that such tactics work real and significant

prejudice on defendants. For example, in Uniloc, the court held that the defendants accused by

the patentee “have a legitimate interest in coordinating their claim construction positions and in

discovering any inconsistencies in Uniloc’s allegations.” 2017 WL 3836140, at *2. Other courts

have found the same. See Cypress, 2018 WL 4100766, at *1, *3 (rejecting designation so defend-

ant could share infringement contentions with third-party Google since plaintiff’s allegations fo-

cused on Google’s operating system); Constellation, 2007 WL 7658921, at *1 (rejecting designa-

tion where the defendant could not provide infringement contentions to other entities the plaintiff

had accused of infringement through their use of the defendant’s websites). 5

       Second, Amazon is unable to fully develop its invalidity defenses because it does not have

full access to VIS’s interpretation of the scope of the asserted claims. Further, to the extent Ama-

zon chooses to defend VIS’s allegations before the United States Patent and Trademark Office



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      Considering this well-established case law, it is not surprising that neither case VIS cites,
Tivo v. Verizon Commc’ns, Inc., Civ. No. 2:09-CV-257 (E.D. Tex. Aug. 1, 2011) or Zenith Labs.,
Inc. v. Bristol-Myers Squibb Co., 19 F.3d 1418 (Fed. Cir. 1994), supports its contention that a
defendant is not entitled to a patentee’s infringement contentions as to other parties accused of
infringing the same patent. Tivo involved discovery of expert reports and transcripts that analyzed
a third-party’s confidential technical information. And Zenith Labs concerned a district court’s
infringement analysis. 19 F.3d at 1423. Neither applies here.


                                                 9
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 13 of 15 PageID #: 1688



(“PTO”), it is hampered by its inability to use VIS’s infringement contentions in that forum. For

example, in Constellation, the defendant observed that it could not “make full use of the conten-

tions in defending against [the patentee’s] infringement claims” because it could not submit the

contentions to the PTO in support of its request for reexamination. Constellation, 2007 WL

7658921, at *1. The Court found that this harm “outweigh[ed] any interest of [the patentee] in

preserving the designation” because the infringement contentions could “provide important con-

text for the PTO” as evidence of “the broad interpretation given the claims by the patent owner,

and how the patent is being asserted against accused infringers.” Id. at *3; see also Cypress, 2018

WL 4100766, at *2 (ordering de-designation where the defendant argued it was prevented from

using the contentions in “inter partes review petitions or reexamination proceedings with the Patent

Office to challenge the validity of the asserted patents”).

       The significant prejudice that VIS’s designation of its infringement contentions has already

imposed on Amazon and its ability to defend against VIS’s claims weighs against VIS’s improper

designation.

                                          CONCLUSION

       VIS has not met its burden of demonstrating its entitlement to a protective order for its

infringement contentions and Amazon respectfully requests that the Court deny VIS’s Motion for

Protective Order (Dkt. 62).

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                                                 10
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 14 of 15 PageID #: 1689



Dated: March 15, 2019               Respectfully submitted,

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                                      11
Case 4:18-cv-00474-ALM Document 73 Filed 03/15/19 Page 15 of 15 PageID #: 1690



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have con-

sented to electronic service are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on March 15, 2019.

                                            /s/ Ravi R. Ranganath
                                            Ravi R. Ranganath




                                               12
